Case 3:18-cv-00646-CRS-LLK Document 1-1 Filed 09/28/18 Page 1 of 12 PageID #: 4


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     NO.       1, 8 t1l O2 2 9 5                             JEFFERSON CIRCUIT COURT
                                                                   DIVISION
                                                                            J-E-F=FE=RS....,.,--0..,. -,N GIP.Curr COURT
                                                                                             DIVISION EIGHT (8)

     GREG CARTER                                                      )                   PLAINTIFF
                                                                      )
      v.                                                              )
                                                     COMPLAINT
                                                                      )
                                                                      )
     CIGNA GROUP INSURANCE                                            )                    DEFENDANT
     aka. LIFE INSURANCE COMPANY OF NORTH                             )
      AMERICA                                                         )
      PO BOX 29221                                                    )
      PHOENIX AZ 85038-9221                                           )
                                                                      )
                                                                      )
      SERVE:                                                          )
      SECRETARY OF STATE                                              )
      700 CAPITOL AVE                                                 )
      SUITE 152                                                       )
      STATE CAPITOL                                                   )
      FRANKFORT KY 40601                                              )
                                                                      )

                              ***                    ***                        ***

               Comes the Plaintiff, GREG CARTER, by counsel, and for his cause of action against
      Defendant states as follows:


                                            PARTIES AND VENUE


          1.   Plaintiff is a resident of Louisville, Jefferson County, Kentucky.
      2.       Defendant, Cigna Group Insurance Company (hereinafter "carrier" or "Defendant" or
      "Cigna") also sometimes known as "Life Insurance Company of North America" is a corporation                          0
      doing business in the Commonwealth of Kentucky.                                                                      7
      3.       This is an action brought by a participant to recover short and long tenn disability                        I
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      benefits ("STD" and "LTD") due to him under the tenns of an insurance plan is a simple
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      contract. The contract is part of an employment benefit, however if, after discovery is tendered it                  I
                                                                     A COPY                                                2
                                                                      ATTEST: DAV l
                                                                      JEFFERSON 1                                          0
                                                                      LOUISVILLE, .......n..c-,,v                          1
                                                                      BY----l_,,k.-'-_ _O.C.
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Case 3:18-cv-00646-CRS-LLK Document 1-1 Filed 09/28/18 Page 2 of 12 PageID #: 5

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     appears employer is a government agency this action is therefor is governed by §502(e) of the
     Employment Retirement Income Security Act of 1974 (ERJSA), 29 U.S.C. §1132(e), which is
     more specifically, a contract for disability insurance benefits. If not is.I
     4.         This Court has concurrent jurisdiction with the Federal District Court.



                                                         FACTS
     1.         Plaintiff was a full-time employee of Honeywell International Inc. ("employer") for a
     sufficient time period so as to be eligible for coverage under the terms of an insurance contract
     incident# 10428475-01, policy #SHD-0985213.
     2.         As a full time employee, Plaintiff was eligible for, and was participating in the short and
     long-term disability plan ("plan") offered by employer.
     3.         At all times relevant to this Complaint, the Plan was administered by Cigna and at all
     relevant times Cigna remained the so called "plan administrator".
     4.          By virtue of Plaintiff's medical impairments, and according to medical personnel, it is
     apparent that Plaintiff is pennanently and totally disabled.
         5.     Plaintiff applied for and was granted STD.
     6.         For reasons that are medically and contractually mysterious Cigna decided to review the
         file. The re-review resulted in a denial.
         7.     Any further appeal of either the STD or LTD would be futile and thusly, upon
         information and belief, the Plaintiff has exhausted all administrative remedies for both periods of
         wage replacement coverage, LTD and STD.
         8.     Cigna 's in house medical review performed by the Defendant's "hired medical
         reviewer(s)", practitioner(s) of unknown qualifications, erroneously concluded that the Plaintiff
         was able to perform an occupation. The Defendant Cigna fails to offer a rational basis as to why
         it does not concur with a diagnosis of disability consistent with Plaintiff's treating physicians
         who opine Plaintiff cannot return to work due to both a severe psychological condition
                                                                                                               0
         manifesting itself in, among other things, depression, anxiety and physical disorders that have
                                                                                                               7
         manifested from the mental nervous condition. Cigna has violated its fiduciary duty to Plaintiff      I
         and the ERIS A statue. Kalish v. Liberty Mutual, 419 F.3d 501 (6th Cir. 2005).                        1
         9.      Cigna's in-house reviewing staff erroneously concluded that the Plaintiff was capable of      6
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Case 3:18-cv-00646-CRS-LLK Document 1-1 Filed 09/28/18 Page 3 of 12 PageID #: 6

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     returning to work and to work full time, as he did before the onset of his disability. Cigna
     refused to consider all of the Plaintiff's medical ailments and combined effect on him to
     terminate benefits. Said action is in violation of Sixth Circuit jurisprudence.
      I0.        Cigna 's refusal to consider Plaintiff's combination of medical impairments, and the effect
     each has on the other, is error. The Claimant is entitled to have the combination of all
      impairments considered under the Plan. The Defendant so callously ignored substantive medical
      proof that it cannot now enjoy the, so-called, arbitrary and capricious standard of review despite
      plan language to the contrary, and the medical history should be reviewed de novo.
      11.        Cigna is legally unable to cancel Plaintiff's benefits based on even its own medical and
      vocational findings.
      12.        Any physician who has personally treated the Plaintiff has never questioned the
      permanency and totality of Plaintiff's disability.
          13.     Defendant Cigna's conclusions that Plaintiff is not totally disabled was arbitrary and
      capricious, based on faulty data, flies in the face of the longitudinal medical evidence from the
      treating sources, and was executed in violation of relevant provisions of the plan.
          14.    At all relevant times Cigna was acting under a conflict of interest as it was the entity
      which determined if the Plaintiff was disabled and the entity which is responsible for payment of
      LTD wage replacement benefits.
          15.    In accordance with the terms of the plan, the Plaintiff did apply for Social Security
      Disability benefits ("SSDI") from the Social Security Administration ("SSA").
          16.    Defendant cannot ignore the finding of SSA without adequate explanation in its decision
      even if such decision falls outside the administrative review. Whitaker v. Hartford Life and
          Accident Co. 404 F.3d 947 (6 th Cir. 2005).




                                                         COUNTl
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                                             BREACH OF ERISA STATUTE
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          17.    Pursuant to the ERISA statute Plaintiff is entitled to long-term disability benefits under    I
          the Plan.                                                                                            1
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          18.    Alternatively, Defendant has wrongfully denied Plaintiff LTD benefits and has breached        I
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Case 3:18-cv-00646-CRS-LLK Document 1-1 Filed 09/28/18 Page 4 of 12 PageID #: 7

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       the terms of the Plan under the dictates of the simple contract.
       19.    Defendant's decision to deny Plaintiffs benefits and their claim handling have been
       arbitrary and capricious and is not supported by substantial evidence, and is tantamount to a
       breach of contract, violating Plaintiff's expectations pursuant to the terms of the contract of
       insurance.


       WHEREFORE the Plaintiff prays as follows:
       1.      For payment of disability benefits due to him, calculated from the date benefits were
       ceased until the present, with interest to the extent permitted by law;
       1.      For an Order compelling Defendant to continue all disability benefits from the present
       forward in time until such time as the terms of Defendant's contract of insurance permits a
       reinvestigation of Plaintiff's continued medical eligibility under the Plan;
       2.      For attorney's fees and expenses that Plaintiff has incurred for enforcing his BRISA
       contractual rights as well as any other rights~
       3.      For any and all equitable relief Plaintiff is entitled to under common law contract theory,
       tort, or under ERISA, including Defendants' assistance in remedying any damage their
       termination of benefits has caused respecting Plaintiff's credit history;
       4.      For his costs expended herein;
       5.      For any and all relief to which Plaintiff may be entitled under any legal claim, whether it
       be pursuant to a contract claim, state based statutory claims, federal ERISA based claims, or
       other claims that may arise once discovery is complete.




       ROBERT A. F
       1500 Story Ave
       Louisville, KY 40206                                                                                  0
       Co-Counsel for Plaintiff                                                                              7
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Case 3:18-cv-00646-CRS-LLK Document 1-1 Filed 09/28/18 Page 5 of 12 PageID #: 8




                                                                                   Summons Division
                                                                                        PO BOX 718
                                         Commonwealth of Kentucky          FRANKFORT, KY 40602-0718
  Alison Lundergan Grimes
  Secretary of Stafe                    Office of the Secretary of State

                                               June 22, 2018


  CIGNA GROUP LIFE
  PO BOX 29221
  PHOENIX, AZ 85038-9221



  FROM:        SUMMONS DIVISION
               SECRETARY OF STATE

  RE:           CASE NO: 18-Cl-02295

  COURT: Circuit Court Clerk
      Jefferson County
      7oo·west Jefferson St.
      Louisville, KY 40202
      Phone: (502) 595-3055

  Legal action has been filed against you in the captioned case. As provided .under
  Kentucky law, the legal documents are enclosed.

  Questions regarding this action should be addressed to:

        (1) Your attorney, or
        (2) The attorney filing this suit whose name should appear on
             the last page of the complaint, or .
        (3). The court or administrative agency in which the suit is filed
             at the clerk's number printed above.

 The Kentucky Secretary of State has NO POWER to make a legal disposition of this
 case. Your responsive pleadings should be fiied with the clerk of ttie court or agency
 where the suit is filed and served directly on your opposing party.

 No copy of future pleadings need be sent to this office unless you wish us to serve
 the pleading under a particular statute or rule and pay for said service.  ·
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  Case 3:18-cv-00646-CRS-LLK Document 1-1 Filed 09/28/18 Page 6 of 12 PageID #: 9




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Page 1 of_1
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Commonwealth of Kentucky
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Court of Justice www.courts.ky.gov
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CR 4.02; CR Official Form 1                       CIVIL SUMMONS

                                                                                            PLAINTIFF

 vs.
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              L~ :Q_       '1\A ".       Cv.      c>\'     l~u-\..'--.                      DEFENDANT
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 Service of Process Agent for Defendant:
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 THE COMMONWEALTH OF KENTUCKY
 TO THE ABOVE-NAMED DEFENDANT($):

         You are hereby notified a legal action has been filed against you in this Court demanding relief as shown on the
 document delivered to you with this Summons. Unless a written defense is made by you or by an attorney on yo~r
 behalf within 20 ,days following the d_ay this paper is delivered to you, judgment by default may be taken against you for
 the relief demanded in the attached Complaint.

        The name(s) and address(es) of the party or parties demanding relief against you are shown on the document
 delivered to you with this Summons.


 Date:
                 JUN t.1.8
         _ _ _ _ _ _ _ _ _ _,2_ __




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                                                     Proof of Service
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   This Summons was served by dellvering a true copy and the Complaint (or other initiating document) to:                     I
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   this_ day of _ _ _ _ _ _ _ _ _ _ , 2_ _ .                                                                                  5
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Case 3:18-cv-00646-CRS-LLK Document 1-1 Filed 09/28/18 Page 7 of 12 PageID #: 10




  NO.                                                  JEFFERSON CIRCUIT COURT
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          t8CI02295                                                        r,,· ,_:; · • ·'· · · •.·• · • \_ .,, ·· · \
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   GREG CARTER                                                   )
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   v.                                                            )
                                                COMPLAINT
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                                                                 )
   CIGNA GROUP INSURANCE                                         )                      _DEFENDANT
   aka. LIFE INSURANCE COMPANY OF NORTH                          )
   AMERICA                                                       )
   PO BOX 29221                                                  )
   PHOENIX AZ 85038-9221                                         )
                                                                 )
                                                                 )
   SERVE:                                                        )
   SECRETARY OF STATE                                            )
   700 CAPITOL AVE                                               )
   SUITE 152                                                      )
   STATE CAPITOL                                                  )
   FRANKFORT KY 40601                                             )
                                                                  )

                         ***                    ***                          ***


          Comes the Plaintiff, GREG CARTER, by counsel, and for his cause of action against
   Defendant states as follows:




   I.
   2.     Defendant, Cigna Group Insurance Company (hereinafter "carrier" or "Defendant" or
   "Cigna") also sometimes known as "Life Insurance Company of North America" is a· corporation
                                                                                                                          0
   doing business in the Commonwealth of Kentucky.                                                                        6
   3.     This is an action brought by a participant to recover short and long term disability                            I
   benefits ("STD" and "LTD") due to him under the terms of an insurance plan is a simple                                 2
   contract. The contract is part of an employment benefit, however if, after discovery is tendered it
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    Case 3:18-cv-00646-CRS-LLK Document 1-1 Filed 09/28/18 Page 8 of 12 PageID #: 11


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      appears employer is a government agency this action is therefor is governed by §502(e) of the
      Employment Retirement Income Security Act of 1974 (ERISA), 29 U.S.C. §1l 32(e), which is
      more specifically, a contract _for disability insurance benefits. If not is.I
      4.      This Court has concurrent jurisdiction with the Federal District Court.




                                                        FACTS
       l.     Plaintiff was a full-time employee of Honeywell International Inc, ("einployer") for a
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      2.      As a full time employee, Plaintiff was eligible for, and was participating in the short and
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      3.      At all times relevant to this Complaint, the Plan was administered by Cigna and at all
      relevant times Cigna remained the so called "plan administrator".
      4.      By virtue of Plaintiff's medical impairments, and according to medical personnel, it is
      apparent that Plaintiff is permanently and totally disabled.
      5.      Plaintiff applied for and was granted STD.
      6.      For reasons that are medically and contractually mysterious Cigna decided to review the
                                                                                                 "
      file. The re-review resulted in a denial.
      7.      Any further appeal of either the STD or LTD would be futile and thusly, upon
      infonnation and belief, the Plaintiff has exhausted all administrative remedies for both periods of
      wage replacement coverage, LTD and STD.
      8.      Cigna's in house medical review performed by the Defendant's "hired medical
      reviewer(s)", practitioner(s) of unknown qualifications, erroneously concluded that the Plaintiff
      was able to perform an occupation. The Defendant Cigna fails to offer a rational basis as to why
      it does not concur with a diagnosis of disability consistent with Plaintiffs treating physicians
      who opine Plaintiff cannot return to work due to both a severe psychological condition.
      manifesting itself in, among other things, depression, anxiety and physical disorders that have       0
      manifested from the mental nervous condition. Cigna has violated its fiduciary duty to Plaintiff      6
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      and the ERISA statue. Kalish v. Liberty Mutual, 419 F.3d 50 l (6 th Cir. 2005).
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      9.      Cigna.'s in-house reviewing staff erroneously concluded that the Plaintiff was capable of     5
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Case 3:18-cv-00646-CRS-LLK Document 1-1 Filed 09/28/18 Page 9 of 12 PageID #: 12




  returning to work and to work full time, as he did before the onset of his disability. Cigna
  refused to consider all of the Plaintiff's medical ailments and combined effect on him to
  terminate benefits. Said action is in violation of Sixth Circuit jurisprudence.
  10.    Cigna's refusal to consider Plaintiffs combination of medical impairments, and the effect
  each has on the other, is error. The Claimant is entitled to have the combination of all
  impairments considered under the Plan. The Defendant so callously ignored substantive medical
  proof that it cannot now enjoy the, so-called, arbitrary and capricious standard of review despite
  plan language to the contrary, and the medical history should be reviewed de novo.
  11.    Cigna is legally unable to cancel Plaintiff's benefits based on even its own medical and
  vocational findings.
  12.    Any physician who has personally treated the Plaintiff has never questioned the
  permanency and totality of Plaintiffs disability.
  13.     Defendant Cigna's conclusions that Plaintiff is not totally disabled was arbitrary and
  capricious, based on faulty data, flies in the face of the longitudinal medical evidence from the
  treating sources, and was executed in violation of relevant provisions of the plan.
  14.    At all relevant times Cigna was acting under a conflict of interest as it was the entity
  which determined if the Plaintiff was disabled and the entity which is responsible for payment of
  LTD wage replacement benefits.
  15.     In accordance with the terms of the plan, the Plaintiff did apply for Social Security
  Disability benefits ("SSDI") from the Social Security Administration ("SSA"),
  16.     Defendant cannot ignore the finding of SSA without adequate explanation in its decision
  even if such decision falls outside the administrative review. Whitaker v. Hartford Life and
  Accident Co. 404 F.3d 947 (6 th Cir. 2005).




                                                 COUNTl
                                     BREACH OF ERISA STATUTE                                           0
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  17.     Pursuant to the ERISA statute Plaintiff is entitled to long-term disability benefits under   I
  the Plan.                                                                                            2
  18.     Alternatively, Defendant has wrongfully denied Plaintiff LTD benefits and has breached       5
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Case 3:18-cv-00646-CRS-LLK Document 1-1 Filed 09/28/18 Page 10 of 12 PageID #: 13



                                     ,   .
   the terms of the Plan under the dictates of the simple contract.
   19.     Defendant's decision to deny Plaintiffs benefits and their claim handling have been
   arbitrary and capricious and is not supported by substantial evidence, and is tantamount to a
   breach of contract, violating Plaintiff's expectations pursuant to the terms of the contract of
   insurance.


   WHEREFORE the Plaintiff prays as follows:
   l.      For payment of disability benefits due to him, calculated from the date benefits were
   ceased until the present, with interest to the extent permitted by law;
   l.      For an Order compelling Defendant to continue all disability benefits from the present
   forward in time until such time as the terms of Defendant's contract of insurance permits a
   reinvestigation of Plaintiff's continued medical eligibility under the Plan;
   2.      For attorney's fees and expenses that Plaintiff has incurred for enforcing his ERISA
   contractual rights as well as ·any other rights;
   3.      For any and all equitable relief Plaintiff is entitled to under common law contract theory,
   tort, or under ERISA, including Defendants' assistance in remedying any damage their
   termination of benefits has caused respecting Plaintiff's credit history;
   4. ·    For his costs expended herein;
   S.      For any and all relief to which Plaintiff may be entitled ~nder any legal claim, whether it
   be pursuant to a contract claim, state based statutory claims, federal ERISA based claims, or
   other claims that may arise once discovery is complete.




   ROBERTA. F
   1500 Story Ave
   Louisville, KY 40206·                                                                                 0
   Co-Counsel for Plaintiff                                                                              6
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Case 3:18-cv-00646-CRS-LLK Document 1-1 Filed 09/28/18 Page 11 of 12 PageID #: 14




                                                                                     Summons Division
                                                                                          PO BOX 718
   Alison Lundergan Grimes
                                           Commonwealth of Kentucky          FRANKFORT, KY 40602-0718
   Secretary of Stafe                     Office of the Secretary of State

                                                 July 13, 2018


   CIGNA GROUP INS. AKA LIFE
   INSURANCE COMPANY OF NORTH AMERICA
   PO BOX 29241
   PHOENIX, AZ 85038-9221



   FROM:         SUMMONS DIVISION
                 SECRETARY OF STATE

   RE:            CASE NO: 18-Cl-02295

   COURT: Circuit Court Clerk
       Jefferson County, Division: 8
       700 West Jefferson St.
       Louisville, KY 40202
       Phone: (502) 595-3055

   Legal action has been filed\ against you in the captioned case. As provided under
   Kentucky law, the legal documents are enclosed.

   Questions regarding this action should be addressed to:

          (1) Your attorney, or
          (2) The attorney filing this suit whose name should appear on
              the last page of the complaint, or
          (3) The court or administrative agency in whicb the suit is filed
              at the clerk's number printed above.

   The Kentucky Secretary of State has NO POWER to make a legal disposition of this
   case. Your responsive pleadings should be filed with the clerk of the court or agency
   where the suit is filed and served directly on your opposing party.

   No copy of future pleadings need be sent to this office unless you wish us to serve
   the pleading under a particular statute or rule and pay for said service.                            0
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  Rev. 1-07
  Page 1 of 1                                                                      Court       I?]   Circuit   O District
  Commonwealth of Kentucky
  Court of Justice www.courts.ky.gov                                               County     Jefferson
  CR 4.02· CR Official Form 1                         CIVIL SUMMONS

                                                                                                           PLAINTIFF

       GREG CARTER
                                                                                  JEFFERSON CIRCUIT COURT
                                                                RECEIVED              DIVISION EIGHT (8)

                                                            JUL 1t i.Of8
 VS.                                                     SECRETARY OF STATE
                                                                                                           DEFENDANT
       CIGNA GROUP INS. aka. LIFE          INSURNACE            COMPANY OF NORTH AMERICA
       PO BOX29221
       PHOENIX P<Z. 85038-9221




 Service of Process Agent for Defendant:
 SECRETARY OF STATE




 THE COMMONWEALTH OF KENTUCKY
 TO THE ABOVE-NAMED DEFENDANT(S):

          You are hereby notified a legal action has been filed against you in this Court demanding relief as shown on
 the document delivered to you with this Summons. Unless a written defense ls made by you or by an attorney on
 your behalf within 20 days following the day this paper is delivered to you, Judgment by default may be taken against you
 for the relief demanded in the attached Complaint.

         The name(s) and address(es) of the party or parties demanding relief a~st .ou are shown on the document
 delivered to you with this Summons.                          DAVID L NICHO          LERK

 Date:         APB 19 2018 2 _ _                          ------;"t--'.lf--r-,c--,,,~---Clerk
                                                          By:



                                                      Proof of Service                                                       0
       This Summons was served by deliverlng a true copy an~ the Complaint (or other Initiating document) to:                7
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       this_ day of _ _ _ _ _ _ _, 2_ _                                                                                      1
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